                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           BRYSON CITY DIVISION
                                 2:13 cr 16-3


UNITED STATES OF AMERICA,                           )
                                                    )
Vs.                                                 )               ORDER
                                                    )
TOMMY GENE QUEEN,                                   )
                                                    )
                  Defendant.                        )
____________________________________                )


       THIS MATTER has come before the undersigned pursuant to a prayer for relief

contained in a Motion to Continue (#68) filed by counsel for Defendant in which Defendant

requested that “all motions filed by the co-defendants be incorporated by reference as to this

defendant on discovery and jurisdiction.”    At the call of the matter on for hearing, it appeared

that Defendant was present with his counsel, Reid G. Brown, and Assistant United States

Attorney Richard Edwards was present on behalf of the Government. At the call of this matter

on for hearing, Mr. Brown requested that Defendant be allowed to withdraw his motion without

prejudice. The Government had no objection.

                                             ORDER

       IT IS, THEREFORE, ORDERED that the portion of the Motion to Continue (#68)

requesting that Defendant be allowed to incorporate and adopt motions for discovery and

jurisdiction of co-defendants is hereby WITHDRAWN and rendered MOOT without prejudice.

                                                              Signed: November 26, 2013




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